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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                 AT BLUEFIELD


JOHN CHARLES WELLMAN,

             Movant,


v.                                       CASE NO. 1:13-cv-07949
                                         (CRIMINAL NO. 1:08-cr-00043-01)

UNITED STATES OF AMERICA,

             Respondent.



        UNITED STATES RESPONSE TO MOVANT’S MOTION TO VACATE,
     SET ASIDE OR CORRECT SENTENCE PURSUANT TO 28 U.S.C. § 2255

      Comes now the United States of America by Assistant United

States Attorney, Larry R. Ellis, in opposition to the Motion to

Vacate, Set Aside, or Correct Sentence by a Person in Federal

Custody   filed    by   movant    John   Charles   Wellman   (hereinafter,

“Movant”).     For the reasons set forth herein, the United States

respectfully    submits    that    Movant’s   claims   are   without   legal

merit or factual basis, and that, accordingly, the Court should

deny the motion.

                                    ISSUES

      Movant here contends he is being held in violation of the

laws of the United States.          He argues, particularly, that his

incarceration results from ineffective assistance of counsel and
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that the laws he was convicted of violating are not valid, given

the manner in which they were enacted.

                                    BACKGROUND

     On February 21, 2008, Movant was indicted in the Southern

District of West Virginia on four counts:

           1.     Receipt of an image of a minor engaged in
                  obscene, sexually explicit conduct, in violation
                  of 18 U.S.C. § 1466(A)(2);

           2.     Receipt of visual representation relating to the
                  sexual abuse of children while being a person
                  required to register as a sex offender, in
                  violation of 18 U.S.C. § 2260A;

           3.     Possession of child pornography, in violation of
                  18 U.S.C. § 2252A(a)(5)(B); and

           4.     Felon in possession of a firearm, in violation of
                  18 U.S.C. § 922(g)(1) and 924(a)(2).

     Because Movant had previously been convicted of a crime

relating to the sexual abuse of a child, that is, first degree

sexual assault of a minor, he was exposed to enhanced penalties

under   this     Indictment.            Count       One,   given     Movant’s      prior

conviction,     carried    a   mandatory           minimum    of    15    years    and   a

statutory maximum of 40 years.                    A conviction under Count Two

would   expose     Movant      to       an       additional   ten-year        sentence,

consecutive to that imposed under Count One.                       A conviction under

Count   Three    would    carry     a    ten-year      mandatory         minimum   and   a

statutory maximum of 20 years.




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           Movant     proceeded     to       a     trial       before      a   jury    and   was

    consequently convicted on Counts One, Two and Three.1                               On June

    23, 2010, Movant was sentenced to 300 months.                              Movant filed a

    direct appeal to the Fourth Circuit.                          In an opinion filed on

    December 7, 2011, that court affirmed all three convictions and

    the resulting sentences.                United States v. Wellman, 663 F.3d 224

    (4th Cir. 2014).          Certiorari was denied on April 16, 2012.

                1.         STANDARD OF REVIEW

           To sustain a claim of ineffective assistance of counsel, a

defendant           must    do   more       than    make      a   cursory      allegation     of

inadequate          representation          by     counsel.          To    prove   ineffective

assistance of counsel, a defendant must satisfy the two-pronged

test set forth in Strickland v. Washington, 466 U.S. 668 (1984).

If     a     defendant       has   not       satisfied        the    first     prong    of   the

Strickland test, the court does not need to inquire whether he

has satisfied the second prong. Strickland, 466 U.S. at 697.

           The first prong of Strickland requires a defendant to show

that counsel's representation fell below an objective standard

of     reasonableness.           Strickland,           466    U.S.    at    687-88.     However,

Strickland           established        a    “strong         presumption       that    counsel's


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  Count Four, the felon-in-possession count, had been severed.
Given the guilty verdict on Counts One, Two and Three and the
fact that a conviction under Count Four would not have affected
Movant’s Sentence, the Government elected not to proceed on
Count Four.


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conduct falls within the wide range of reasonable professional

assistance.”        Id.    at     689.     “Judicial          scrutiny    of     counsel's

performance        must    be     highly        deferential.”       Id.     Furthermore,

“effective        representation         is     not    synonymous        with    errorless

representation.” Springer v. Collins, 586 F.2d 329, 332 (4th

Cir. 1978) (citing Marzullo v. Maryland, 561 F.2d 540 (4th Cir.

1977).

      The second prong of Strickland requires a defendant to show

that counsel's deficient performance prejudiced him. Strickland,

466 U.S. at 687. To establish prejudice, a defendant must show

that there is a “reasonable probability that, but for counsel's

unprofessional errors, the result of the proceeding would have

been different.”          Id.    at 694. “A reasonable probability is a

probability sufficient to undermine confidence in the outcome.”

Id.   This    requires          Movant     to       produce     something       more   than

conclusory statements.

             2.     REASONABLENESS

                    A.     Bungard’s Communication With and Advice to
                           Movant Regarding Possible Negotiations and
                           Plea Agreements Was Well Within the Wide
                           Range of Reasonable Professional Assistance

      Movant argues that his counsel “advised against” accepting

the Government’s plea offer and “was adament” (sic) on a jury

trial.   He contends that this purported legal advice was the

reason that he did not enter into the agreement with the United


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States.      Where a §2255 motion is based on the argument that

Movant would have resolved the case against him differently but

for counsel’s erroneous advice, Movant, to prevail, must do more

than make a bare allegation of attorney error.                        United States v.

Horne, 987 F.2d 833 (D.C. Cir. 1993); Key v. United States, 806

F.2d 133, 139 (7th Cir. 1986); Gargano v. United States, 852

F.2d 886 (7th Cir. 1988).

       It is significant here that Movant never alleges that Mr.

Bungard    did    not    inform     him    of    the     Government’s        plea   offer.

Rather,    Movant       simply    asserts       that     Bungard      “advised      against

[the] plea agreement,” and “was adament (sic) on a jury trial.”

Pet. P. 5.         Thus, even taking Movant’s claims at face value,

this case is immediately distinguished from that line of cases

beginning with Lafler v. Cooper, ___ U.S. ____, 132 S.Ct. 1376

(2012),    requiring       that     plea        offers    be     communicated        to     a

defendant.       See United States v. Stockton, 546 Fed.App’x 242 (4th

Cir.   2013)     (where    §     2255   movant     claims      that    his    lawyer      was

ineffective in that he did not advocate vigorously for the plea

agreement the Government offered.                   Motion denied:            “We cannot

conclude    that    counsel’s       decision,       at    this     point     and    in    the

context of his client’s rejection of the plea offer for the

stated reason that he was innocent, to refrain from a vigorous

attempt to change his client’s mind was ‘outside the wide range

of   professionally        competent      assistance.’”)              See    also    United

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States v. Peters, 518 Fed.App’x 162 (4th Cir. 2013), where §

2255   movant    alleged      ineffective            assistance       of   counsel     who,

movant claimed, rejected a plea offer that movant had accepted.

Movant’s attorney contradicted the allegation.                        The Court denied

relief and affirmed the conviction “because the record does not

conclusively show that counsel was ineffective...”.

       In fact, the record in this case demonstrates that Movant

was aware of the terms of the plea offer and further was fully

aware of the likely sentencing consequences of pleading guilty

versus   taking    his       case   to    trial.          Thus,       Movant’s    current

argument is meritless.

       Movant claims that his attorney, David Bungard, insisted

that he refuse the plea offer that had been made to him by the

United States and, instead, face trial on all the charges in the

indictment    against    him.         There      is    simply    no    support    in   the

record for this contention and it is directly contradicted not

only by Bungard’s Affidavit, but by the August 26, 2008 letter

from Bungard to Movant.

       Mr.   Bungard,    in     the      sworn       affidavit      submitted     herein,

states that he fully informed Movant of the sentence he would

potentially     face    if    convicted         at    trial   and     that   he   further

informed Movant of the Government’s offer to allow Movant to

plead to a single count of possession of child pornography,

which would have exposed Movant to a mandatory-minimum term of

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10 years and a statutory maximum of 20 years.                        While Movant

asserts that Bungard “was adament” (sic) about taking the case

to trial, Bungard states that it was Movant who rejected the

Government’s plea offer out of hand, complaining that, for him,

a 10-year sentence would be tantamount to a life term.                    (Bungard

Affidavit pp. 1-8).

       Bungard’s    advice,   much   of       it   contained    in   a   letter   to

Movant that is now a part of this record, was accurate, sober

and without the slightest hint that Bungard believed that a

trial was the best option for Movant.                 Indeed, Bungard strongly

warned Movant of the strength of the Government’s case, the

absence of credible defenses, the consequent improbability of

success at trial, and the draconian dimensions of the penalties

that would likely ensue upon a guilty verdict.                  There is not the

slightest hint in Bungard’s August 26, 2008 letter to Movant

that   Bungard     favored    a   trial       or   encouraged   Movant    in   that

direction. Rather, Bungard advised Movant of his options for

proceeding to trial or trying to negotiate a plea agreement and

told Movant that he would have “a lot of time” to consider this

decision.   Bungard Affidavit, Exh. C., p. 1.

                   B.   Bungard’s Vigorous Advocacy for Movant at
                        Sentencing Was Well Within the Wide Range of
                        Reasonable Professional Assistance.

       Movant also claims that Mr. Bungard was ineffective in that

he failed to argue “sentence stacking in light of Movant’s age

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and health.”         Movant merely asserts that Bungard failed to argue

“sentence stacking.”           He does not define that term or offer any

argument or authority in support of that purported concept.                         To

prevail here, he must do far more than that.                        He must clearly

define what he means by “sentence stacking” and show that any

such doctrine would have been applicable to and persuasive in

his case and that the arguments actually made on his behalf by

Mr. Bungard did not implicate this purported “stacking” concept

and that he was thereby prejudiced.                  Strickland, Supra.

       In     fact,    in     Fourth     Circuit       jurisprudence,       the    term

“sentence      stacking”      refers        to   a   means   of     increasing,     not

diminishing, prison time.              In United States v. Roberts, 262 F.3d

286,   292    (4th    Cir.    2001),     the     Fourth   Circuit    uses   the    term

“sentence stacking” to describe the process of running sentences

on separate counts of conviction consecutively where necessary

to    bring    the    total   term     of    incarceration     up    to   that    level

recommended by the Guidelines.

       It is clear then, that “sentence stacking” as defined by

the    4th    Circuit,      would    not     have    been    advantageous     to    the

defendant in this case.

       In this case, the court’s sentencing options were strictly

delineated under the charged statutes – one of which required a

10-year term, consecutive to other sentences imposed.                       18 U.S.C.

§ 2260A.       Given the plain language of that statute, the fact

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that   counsel     did   not   protest    its   application     was    reasonable

under the circumstances.            Moreover, the fact that Movant had

been earlier convicted of another felony related to the sexual

abuse of children raised the potential sentence in the case and

further     limited      the    court’s       discretion.       18     U.S.C.     §

2252(a)(A)(b)(1).

       Further,    the    record    of    the    proceeding    below    and     Mr.

Bungard’s affidavit clearly show that Mr. Bungard appropriately

advocated    for    Movant     in   urging    (however   unsuccessfully)        the

district court to vary downward based in part on Movant’s age

and health.        Bungard also vigorously championed several other

colorable arguments in an attempt to mitigate Movant’s sentence.

Bungard Affidavit, Exh. F, pp. 47-49; Exh. G, pp. 6-22.

                   c.    There is No Legal Support for the Notion
                         that Title 18 is Unconstitutional in its
                         Entirety.   The Fact that Bungard Did Not
                         Raise Such an Argument is Evidence of His
                         Competence, Not Ineffectiveness.

       Movant’s claim that the entirety of Title 18, United States

Code is unconstitutional due to defects in its original passage

is simply without any legal basis whatsoever.                 Statutes defining

crimes under Title 18 have been tested for constitutionality

over and over again, in the courts of the Nation.                       Time and

again, those statutes, and convictions obtained under them, have




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been upheld and affirmed.2           There is no case law and no legal

precedent       suggesting    that    the    Title   in   its   entirety    was

unconstitutionally enacted.           Indeed, if Bungard had raised and

relied on such a specious and unsupportable argument, that might

have been evidence of ineffective assistance.               But a refusal to

raise it certainly is not.            Bungard is right in his Affidavit:

“There was no meritorious legal argument or defense that could

have been raised . . . concerning any constitutional defects

with the original passage of Title 18, United States Code . . .”.

Bungard Affidavit, p. 10.




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  Of course, there have been instances where statutes defining
crimes under Title 18 have been found to be unconstitutional in
one respect or another. The point here, however, is that there
is no recognition of the idea here forwarded by Movant that the
Title in its entirety is void from inception.
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                                CONCLUSION

     Movant has failed to show that his lawyer, David Bungard,

provided ineffective assistance of counsel. The United States

thus respectfully submits that the Motion to Vacate Sentence

should be summarily dismissed and the sentence imposed by the

district court should be affirmed.



                                   Respectfully submitted,

                                   R. BOOTH GOODWIN II
                                   United States Attorney


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                         CERTIFICATE OF SERVICE

     It is hereby certified that the foregoing “UNITED STATES

RESPONSE TO MOVANT’S MOTION TO VACATE, SET ASIDE OR CORRECT

SENTENCE PURSUANT TO 28 U.S.C. § 2255” has been electronically

filed   and   service   upon    Movant       by   United   States   Mail,   first

class, postage prepaid, this the 16th day of July, 2014, to:



                        John Charles Wellman
                        #08609-088
                        FCC Petersburg
                        Petersburg, VA 23804

                               PRO SE


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